USCA4 Appeal: 19-4468    Doc: 11      Filed: 08/14/2019 Pg: 1 of 1
                Case 1:16-cr-00363-JKB Document 864 Filed 08/14/19 Page 1 of 1

                                                                   FILED: August 14, 2019

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                        ___________________

                                             No. 19-4468
                                        (1:16-cr-00363-JKB-9)
                                        ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        MARQUISE MCCANTS, a/k/a Digga

                     Defendant - Appellant

                                        ___________________

                                             ORDER
                                        ___________________

              The deadline for filing of transcript by Christine T. Asif is extended to

        09/09/2019 without sanctions.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk
